               Case 1:21-cv-01205-SHR Document 8 Filed 07/09/21 Page 1 of 1




                                         OFFICE OF THE CLERK
                                  UNITED STATES DISTRICT COURT
                                              for the
                                 MIDDLE DISTRICT of PENNSYLVANIA

                                     U.S. Courthouse and Federal Building
                                              228 Walnut Street
                                                 P.O. Box 983
                                             Harrisburg, PA 17108
                                   Internet Address: www.pamd.uscourts.gov

    PETER WELSH
    Clerk of Court


    July 9, 2021

    Chalmers A. Simpson, Jr.
    636 Curtin Street
    Harrisburg, PA 17110

    RE: Simpson v. Vision Property Management, et al/ 1:21-cv-1205, Judge Saporito

    Dear Pro Se Plaintiff:

    Receipt is acknowledged of the document noted at the foot of this letter, subject as captioned above.

    If you have simultaneously filed the proper application to proceed in forma pauperis, the matter has been
    forwarded to the court for consideration. If you have not filed the proper application to proceed in forma
    pauperis, an Administrative Order will be issued to you directing you to do so, together with the forms.
    Upon receipt of the COMPLETED and SIGNED forms, your case will then be forwarded to the Court
    for consideration

    Pro Se plaintiffs and petitioners are advised that they have an affirmative obligation to keep the court
    informed of his or her current address. If the plaintiff/petitioner changes his or her address while the
    lawsuit is being litigated, the plaintiff/petitioner shall immediately inform the court of the change in
    writing.

                                                      Sincerely,
                                                      PETER WELSH, Clerk of Court
                                                      By:AAA
                                                      Deputy Clerk

[     ] Petition for Writ of Habeas Corpus

[ X ] Complaint

[     ]   Other
